                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA


UNITED STATES OF AMERICA                             )
                                                     )       Case No. 1:13-cr-128
                                                     )
v.                                                   )
                                                     )       MATTICE / LEE
JERRY WAYNE ALEXANDER, JR.                           )


                         ORDER OF DETENTION PENDING TRIAL


       Defendant JERRY WAYNE ALEXANDER, JR. was scheduled to appear for a detention

hearing. A motion to waive detention hearing was filed with the Court [Doc. 33]. The motion to

waive is hereby GRANTED and based on this motion to waive I find defendant, with advice of

counsel, waived his right to a detention hearing with the understanding that a hearing may be

granted at a later date on proper motion of defendant.

       Pending further hearings in this matter, defendant shall be held in custody by the United

States Marshal and produced for future hearings.

       SO ORDERED.

       ENTER:

                                             s/fâátÇ ^A _xx
                                             SUSAN K. LEE
                                             UNITED STATES MAGISTRATE JUDGE




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